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JS 44 (Rev. 07/16)
                                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the informationcontained herein neither replace nor supplementthe fiI ing and service of pleadings or other papers as requiredby law, except as
provided by local rules of court. This form, approved by the Judicial Conferenceof the United States in September 1974,is required for the use of the Clerk of Court for the
purpose of initiatingthe civil docket sheet. (SEE INSTRUCTIONSON NEXT PAGE OF THISFORM)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS
JANE DOE (a fictitious designationwhose initials are S.M.), MARY MOE                                         DARTMOUTHCOLLEGE, its agents, servants and/or employees
(a fictitious designationwhose initials are Dr. SA) and JOHN DOE (a
fictitious designationwhose initials are Dr. A.M.)
   (b) Countyof Residenceof First Listed Plaintiff                                                             County of Residenceof First Listed Defendant                Grafton County
                                (EXCEPTIN Us. PLAINTIFF CASES)                                                                       (IN U.S.PLAINTIFFCASES ONLY)
                                                                                                               NOTE:     IN LAND CONDEMNATIONCASES, USE THE LOCATIONOF
                                                                                                                         THE TRACT OF LAND INVOLVED.

     (c)   Attorneys (Firm Name,Address, Email and TelephoneNumber)                                            Attorneys (If Known)
Law Offices of RosemarieArnold                                                                               Unknown
1386 PalisadeAvenue, Fort Lee, NJ 07024
Email: rarnold@rosemariearnold.comPh.: (201) 461-1111

II. BASIS OF JURISDICTION                        (Placean "X" in One Box Only)                  III. CITIZENSHIP                OF PRINCIPAL PARTIES                        (Placean "X" in OneBoxfor Plaintiff
                                                                                                          (For Diversity Cases Only)                                          and One Boxfor Defendant)
01      U.S. Government               ~3      Federal Question                                                                     PTF          DEF                                          PTF     DEF
          Plaintiff                             (U.s. GovernmentNot a Party)                         Citizen of This State                      0 I       Incorporatedor PrincipalPlace       0 4    0 4
                                                                                                                                                            of Business In This State

02      U.S. Government               04      Diversity                                              Citizen of Another State       o      2     0    2   Incorporatedand PrincipalPlace     o   5
          Defendant                             (IndicateCitizenshipof Parties in Item III)                                                                  of Business In AnotherState

                                                                                                                                    o      3     0    3   Foreign Nation                     o   6    06

IV     NATURE OF SUIT                (PI ace an "X" in One Box 01
                                                                nlJ')

o    II 0 Insurance                     PERSONAL INJURY                 PERSONAL INJURY              o 625 Drug Related Seizure  o 422 Appeal 28 USC 158                    0 375 False Claims Act
o    120Marine                       o 310 Airplane                 o 365 Personal Injury •                of Property21 USC 881 o 423 Withdrawal                           0 376 Qui Tam (31 USC
o    130Miller Act                   o 315 Airplane Product               Product Liability          o 690 Other                       28 USC 157                                 3729(8»
o    140NegotiableInstrument               Liability                o 367 Health Carel                                                                                      o 400 State Reapportionment
o    150Recoveryof Overpayment       o 320 Assault, Libel &              Pharmaceutical                                                                                     o 410Antitrust
          & Enforcementof Judgment            Slander                    Personal Injury                                   o 820 Copyrights                                 o 430 Banks and Banking
o    151MedicareAct                  o 330 Federal Employers'            Product Liability                                 o 830 Patent                                     o 450 Cornmerce
o    152Recoveryof Defaulted                  Liability            o 368 AsbestosPersonal                                  o 840 Trademark                                  o 460 Deportation
          Student Loans              o 340 Marine                         Injury Product                                                                                    o 470 RacketeerInfluencedand
         (ExcludesVeterans)          o 345 MarineProduct                  Liability                                                                    '.fo                       CorruptOrganizations
o    153Recoveryof Overpayment                Liability             PERSONAL PROPERTY o 710 Fair Labor Standards           o 861 HIA (I395ft)                               o 480 ConsumerCredit
         of Veteran's Benefits       o 350 Motor Vehicle           o 370 Other Fraud                Act                    o 862 Black Lung (923)                           o 490 Cable/SatTV
o    160Stockholders' Suits          o 355 Motor Vehicle           o 371 Truth in Lending  o 720 LaborlManagement          o 863 DIWCIDIWW(405(g»                           o 850 SecuritieslCommodities!
o    190Other Contract                       Product Liability     o 380 Other Personal             Relations              o 864 ssioTitle XVI                                    Exchange
o    195ContractProductLiability     o 360 Other Personal                PropertyDamage    o 740 Railway Labor Act         o 865 RSI (405(g»                                0 890 Other StatutoryActions
o    196Franchise                            Injury                o 385 Property Damage o 751 Familyand Medical                                                            0 891 AgriculturalActs
                                     o 362 PersonalInjury-               Product Liability          Leave Act                                                               0 893 EnvironmentalMatters
                                             MedicalMalpractice                            o 790 Other Labor Litigation                                                     0 895 FreedomofInformation
                  &pER~"!'                            G           fPRlSONER·PEl'mONS ' o 791 EmployeeRetirement            ,';-'·I'B])_14,.,                                      Act
o 210 Land Condemnation              o 440 Other Civil Rights        Habeas Corpus:                IncomeSecurity Act      o 870 Taxes (U.S. Plaintiff                      0 896 Arbitration
o 220 Foreclosure                    0441 Voting                   o 463 Alien Detainee                                             or Defendant)                           0 899 AdministrativeProcedure
o 230 Rent Lease & Ejectment         o 442 Employment              o 510 Motionsto Vacate                                  o 871 IRS-Third Party                                  ActlReviewor Appealof
o 240 Torts to Land                  o 443 Housingl                      Sentence                                                   26 USC 7609                                  AgencyDecision
o 245 Tort ProductLiability                  Accommodations        o 530 General                                                                                            o 950 Constitutionalityof
o 290 All Other Real Property        o 445 Amer. wlDisabilities- o 535 Death Penalty       ":~;";:k'0t'IMMIG~                                                                     State Statutes
                                             Employment              Other:                o 462 NaturalizationApplication
                                     (lJ.446 Amer.wlDisabilities- o 540 Mandamus& Other o 465 Other Immigration
                                             Other                o 550 Civil Rights               Actions
                                     o 448 Education              o 555 PrisonCondition
                                                                  o 560 Civil Detainee-
                                                                        Conditionsof
                                                                        Confinement
V. 0 RI GIN        (Placean "X" in One Box Only)
~ I Original              0 2 Removed from                o   3    Remandedfrom                o4    Reinstatedor      0 5 Transferredfrom                o   6 Multidistrict        o 8 Multidistrict
    Proceeding                State Court                          Appellate Court                   Reopened              Another District                     Litigation-                Litigation-
                                                                                                                               (specify)                        Transfer                   Direct File
                                           Cite the U.S. Civil Statute under which    20U     are filin (Do not citejurisdictional s_tes       unless diversity):
VI. CAUSEOFACTION~4~2~U~.~S~.C~.~§1~2~1~01~,~e~ts~e~q~.a~n~d~9~U~.S~.C~.~7~9~4                                                                                                                             __
                                           Brief description of cause:
                      Defendant, inter alia, failed and/or refused to provide reasonableaccommodationsto disabled PlaintiffS.M.
VII. REQUESTED IN     o CHECK IF THIS IS A CLASS ACTION           DEMAND $                    CHECK YES only if demandedin complaint:
      COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                    3,000,000.00             JURY DEMAND:         M Yes 0 No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                                                                              DOCKETNUMBER
DATE                                                                                    F ATIORNEY OF RECO
10/26/2016
FOR OFFICE USE ONLY

     RECEIPT#                   AMOUNT                                     APPLYINGIFP                                     JUDGE                                    MAG. JUDGE
                                                                                                                                                                                 --------
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LAW OFFICES ROSEMARIE ARNOLD
1386 Palisade Avenue
Fort Lee, New Jersey 07024
(201) 461-1111
Attorneys for Plaintiff
Attorney ID No.: 034241986
Filing Attorney ID No.: 034241986
Our File No.: 214941
----------------------------------------------------------------
                                                     : UNITED STATES DISTRICT COURT
JANE DOE (a fictitious designation whose initials : DISTRICT OF NEW JERSEY
are S.M.), MARY MOE (a fictitious designation
whose initials are Dr. S.A.) and JOHN DOE (a
fictitious designation whose initials are Dr. A.M.),
                             Plaintiffs,                                : CIVIL ACTION NO.: 2:16-cv-7908




          vs.                                                                 COMPLAINT AND JURY DEMAND


DARTMOUTH COLLEGE, its agents, servants
and/or employees,
                  Defendant.


-----------------------------------------------------------------
                                           COMPLAINT               - CIVIL ACTION


          Plaintiffs, Jane Doe (a fictitious designation whose initials are S.M.), Mary Moe (a fictitious

 designation whose initials are Dr. S.A.) and John Doe (a fictitious designation whose initials are

 Dr. A.M.), bring this action to secure declaratory, injunctive, monetary, punitive and other

 appropriate relief on the basis of, inter alia; disability discrimination under Americans with

 Disabilities Act of 1990,42 U.S.C. §12101, et seq., and § 504 of the Rehabilitation Act, 29 U.S.C.

 § 794, consumer fraud under the Consumer Fraud Act, N.l.S.A 56:8-2 and breach of contract.

 Plaintiffs claim damages in excess of$75,000.00 upon the following causes of action stated below:



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                                  JURISDICTION       AND VENUE

1. The Plaintiffs are citizens of the State of New Jersey and the Defendant is a citizen of the State

   of New Hampshire. The amount in controversy exceeds $75,000.00.

2. This action arises out of, inter alia; Defendant's violations of the Americans with Disabilities

   Act of 1990,42 U.S.C. §12101, et seq., § 504 of the Rehabilitation Act, 29 U.S.C. §794,

   Consumer Fraud Act, N.J.S.A. 56:8-2 and breach of its contractual and other obligations to the

   Plaintiffs.

3. The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331, in that it arises under the

    laws of United States of America, and 1332, in that there is diversity of citizenship.

4. Venue is proper under 28 U.S.C. §1391(b). Plaintiffs all reside in the forum state. Defendant

   purposefully and voluntarily entered into a contract with the Plaintiffs in the forum state and

   purposely availed itself of the privilege of conducting recruiting events and other activities

   within the forum state and invokes the benefits and protection of State law.

                                                PARTIES

5. Plaintiff, Jane Doe (a fictitious designation whose initials are S.M. and who shall be hereinafter

    referred to as S.M.), is an adult individual who resides in the State of New Jersey.

6. Plaintiff, Mary Moe (a fictitious designation whose initials are Dr. S.A and who shall be

     hereinafter referred to as Dr. S.A.), is an adult individual and the mother of Plaintiff S.M.

     residing in the State of New Jersey.

 7. Plaintiff, John Doe (a fictitious designation whose initials are Dr. A.M. and who shall be

     hereinafter referred to as Dr. A.M.), is an adult individual and the father of Plaintiff S.M.

     residing in the State of New Jersey.

 8. Pseudonyms for the Plaintiffs are used to preserve privacy in a matter of a sensitive and highly


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   personal nature, identification of the Plaintiffs poses a risk of further mental harm, harassment,

   ridicule and/or personal embarrassment.

9. Defendant, DARTMOUTH COLLEGE (hereafter "DARTMOUTH"),                     is an Ivy League

   institution whose advertised mission statement sets forth that Dartmouth College educates the

   most promising students and prepares them for a lifetime of learning and of responsible

   leadership, through a faculty dedicated to teaching and the creation of knowledge. It has its

   primary office located at 7 Lebanon Street, Suite 203, Hanover, New Hampshire 03755.

                                       FACTUAL ALLEGATIONS

10. Plaintiff S.M. is a twenty year old girl who suffers from achromatopsia and is legally blind.

11. From 2011 to 2014 Plaintiff S.M. attended Morris County School of Technology, a public high

   school in Morris County, New Jersey.

12. Based on her disability, while in high school, Plaintiff S.M. properly received learning and

    testing accommodations.       With those accommodations, Plaintiff S.M. was able to score 34 out

    of36 on the ACT and maintained a grade point average of3.9, while excelling in various

    extracurricular activities.

13. Due to her extreme success, Plaintiff S.M. was accepted into Dartmouth in December of2013.

14. Prior to enrolling into Dartmouth, Plaintiff S.M. spoke with Dartmouth employee, Ward

   Newmeyer (hereafter "Ward"), Director of Student Accessibility Services (hereafter "SAS"),

   regarding the services and accommodations available to a blind student at Dartmouth. The

   conversations took place between Plaintiff S.M. and Ward both in person and on the telephone

   while Plaintiff S.M. was in her home in Morris County, New Jersey. At all times mentioned

   herein, Ward promised Plaintiff S.M. that he would take personal responsibility to make sure

    she was properly accommodated and that he would be her mobility guide when she arrived on


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  the first day. Ward promised, on behalf of SAS and Dartmouth, to provide Plaintiff S.M. with

   all appropriate accommodations.

15. Based on, inter alia, the promises made by Ward to Plaintiff S.M., the information obtained by

   Plaintiff S.M. on the internet and written information mailed to her residence in New Jersey,

   Plaintiff S.M. enrolled in Dartmouth in the fall of2014.

16. On August 24,2014, Plaintiff S.M. arrived on campus to find that Ward was unprepared to

    accommodate even her basic needs. For instance, Ward had not even formulated a logical map

    for Plaintiff S.M. to follow to get to her classes.

17. In the fall of 2014, during Plaintiff S.M.' s first semester at Dartmouth, Plaintiff S.M. did not

   receive course reading materials in a digital format in a timely manner, making Plaintiff S.M.

   unable to properly prepare for class. On at least five occasions, Plaintiff S.M. and/or Dr. S.A.

   contacted the Dean assigned to her, Kent Yrchik Shoe-maker, who provided no assistance

   despite his continued promises to "investigate further." As a result, PlaintiffS.M.'s grades were

   lower than they would have been had she received the proper accommodations.

18. In the winter of2014-2015, during PlaintiffS.M.'s second semester, Dartmouth again failed

    and/or refused to provide Plaintiff S.M. with proper accommodations which adversely affected

    Plaintiff S.M's academic performance in, among other classes, Chemistry 5/6. As examples

    but not an exhaustive list: all of the lecture notes were done on a chalk board which Plaintiff

    S.M. could not see, a note taker was not lined up for the course so Plaintiff was put at a

    disadvantage from day one. Eventually, when a note taker was assigned to Plaintiff S.M., that

     student did not understand the course material and took incomplete notes. Accordingly,

     Plaintiff S.M. was unable to follow along in class and was forced to teach herself the material

     as well as the problem solving skills necessary to be successful in the class. As ifthat was not


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   enough, Plaintiff S.M. did not receive readings in a timely manner while sighted students got

   full access to reading assignments well in advance of when they were due. Plaintiff S.M.

   needed assignments provided in an accessible format and on more than one occasion, Plaintiff

   S.M. was not given access to the assignment until immediately before it was due or, at times,

   even after the fact. This negatively affected PlaintiffS.M.'s   ability to complete assignments

   and fully engage in course material on the same level as Plaintiff S.M.'s peers. Due to Plaintiff

   S.M. 's disability, she takes a little longer to read than sighted students therefore Plaintiff S.M.

   was put at a disadvantage when assignments in the right format were provided late. In

   addition, Plaintiff S.M. was not provided with a test reader. As a result of the forgoing,

   Plaintiff S.M. received a poor grade in Chemistry 5/6 instead of the higher grade she would

   have received if she had received the proper accommodations.

19. In regards to the complaints set forth in paragraph # 18 above, on occasions too numerous to

    list, throughout the second semester, Plaintiff S.M. complained to Ward and other members of

    the Dartmouth faculty who ignored her concerns. Plaintiff S.M. began to lose academic

    confidence and was advised by agents, servants and/or employees of Dartmouth that she should

    consider transferring to another institution.

20. PlaintiffS.M.'s   second year at Dartmouth began worse than her first. In Biology 12 Plaintiff

    was not provided with a test reader. She failed her first biology test because the test required

    her to identify microscope images which are very visual. Plaintiff S.M. was unable to see

    specific details of the images. Plaintiff S.M. approached the professor during the test and asked

    for help. Instead of helping, the Professor stated that the course was very visual and that

    Plaintiff S.M. should think about transferring to a school that was less academically

    challenging, with a longer term and slower curriculum. This advice made Plaintiff S.M.


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   question her belonging at Dartmouth. Plaintiff S.M. reached out to many of the resources that

   Dartmouth has for student support but was told by faculty and administrators alike that she

    would not be able to succeed in Dartmouth science courses.

21. Plaintiff S.M. contacted Ward to raise concerns that her professors were not putting her in the

    best position to succeed academically.   Ward apologized for the lack of support and blamed the

    neglect on a "lack of funding." Plaintiff S.M. requested to be assigned to a new Dean because

    Dean Yrchik appeared disinterested in providing assistance.

22. Thereafter, Plaintiffs, S.M., Dr. S.A. and Dr. A.M., met with the Vice Provost for Student

    Affairs, Inge-Lise Ameer, the newly assigned Dean and Ward. Ms. Ameer expressed shock

    when she was advised that Plaintiff S.M. was not being provided with appropriate

    accommodations and assured S.M. that she would follow up and make sure appropriate

    accommodations were implemented for the next semester. A list of moderate accommodations

    was drafted, with input made by everyone present in the meeting, and Plaintiff S.M. received

    assurance that they would be implemented prior to the spring semester of Plaintiff S.M. 's

    second year.

23. Prior to the start of the Spring Semester, Plaintiff S.M. made numerous attempts to contact Ms.

    Ameer and Ward to confirm the agreed upon accommodations were going to be implemented.

    After not receiving a positive response, Plaintiffs, S.M., Dr. S.A. and Dr. A.M., contacted

     President Philip Hanlon who promised to "investigate."

24. Days before the start of the spring semester, Plaintiff S.M. met with Ward and was advised that

     only some of the items on the list of accommodations had been implemented.

 25. In actuality, Ward had not arranged for an Organic Chemistry note taker or a test reader and

     Plaintiff S.M. was forced to seek and acquire these services on her own, which caused Plaintiff


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      S.M. to begin the semester "behind the eight ball."

26. Throughout the spring semester, Dartmouth never implemented all of the agreed upon

      accommodations.    For instance, although every student in Plaintiff S.M. ' s Organic Chemistry

      class received a practice test with an answer key, Plaintiff S.M. did not receive an

      accommodated answer key for the final exam until after it was over. As a result, Plaintiff S.M.

      did not have the ability to check her answers to the practice test which put her at a disadvantage

      when solving problems on the actual exam. The added stress of knowing she was not able to

      fully prepare for the exam also negatively impacted Plaintiff S.M.' s grade and she missed

      receiving an A minus by a single question.

27.    In regards to the allegations set forth in paragraph #25 and #26 supra., PlaintiffS.M.'s

      Professor apologized to her for neglecting to provide the accommodating materials. However,

      when Plaintiff S.M. requested that her grade be re-evaluated, the Professor ignored her request.

28. In the fall of 2016, Plaintiff S.M. started her third year at Dartmouth and the issues with the

      accommodations worsened. Plaintiff S.M. did not receive the reading materials for

      Biochemistry until the night before the first class even though the rest of her class had received

       it a week prior. Thereafter, two hours before the start of the first Biochemistry class, Plaintiff

       was advised by Dartmouth that they had not arranged for a note taker or tutor. Additionally,

       Plaintiff S.M. did not receive the readings or syllabus for Biological Anthropology until after

       the first class had been completed causing her to essentially miss the first class of the semester.

       Again, on the third day of class, the lecture power point had not been uploaded to canvas prior

       to class, causing Plaintiff S.M. to have to sit through a two hour lecture without the benefit of

       any of the class materials. When Plaintiff S.M. met with her biochemistry professor, her

       professor refused to provide Plaintiff S.M. with the reasonable accommodations requested,


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   including but not limited to, integrated white board technology and, request for an integrated

   answer key advising Plaintiff S.M. that an accessible answer key would be "too hard" for him

   to grade. Additionally, Plaintiff S.M. was not provided with power point presentation print

   outs and subsequently was unable to follow the lecture.

29. Despite their refusal to provide Plaintiff S.M. with legally required accommodations on

    occasions too numerous to list, Dartmouth touted PlaintiffS.M.'s     achievements to enhance its

    reputation by featuring her and her accomplishments in at least six (6) Dartmouth publications

    and videos.

30. Dartmouth has failed to timely provide Plaintiff S.M. with class readings and course materials

    in the proper format, failed to utilize the proper software for the blind and visually impaired,

    failed to make reasonable accommodations in classes where professors relied upon visually

    oriented presentation of materials, failed and/or delayed the provision of lab helpers, note

    takers and test readers, failed to implement smart boards for classroom lectures; failed to

    provide access to syllabi to allow preparation for classes prior to the start of the term and failed

    to provide integrated technology in all classrooms.

31. Plaintiffs, S.M., Dr. S.A. and Dr. A.M., have notified Dartmouth of the shortcomings via

    letters, emails, phone calls and in-person meetings, to no avail.

32. On September 26, 2016, the Law Offices of Rosemarie Arnold sent correspondence to

    Dartmouth, on behalf of the Plaintiffs, advising them of the above and requesting that an

    immediate meeting of all parties be scheduled to discuss how the above situation could be

    wholly and satisfactorily rectified.

 33. Dartmouth failed and/or refused to accommodate PlaintiffS.M.'s       requests in the letter and

     cancelled a meeting scheduled to take place on October 17,2016 for which Plaintiff Dr. S.A.


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   travelled over 300 miles to attend.

34. As a result of the numerous shortcomings and mishaps regarding Dartmouth's failure and or

   refusal to accommodate Plaintiffs S.M.'s disability, her grades have suffered and her ability to

   further her studies has been significantly hampered. In addition, all Plaintiffs have suffered

    emotional distress and spent hundreds of thousands of dollars in tuition money to afford

    Plaintiff S.M. an Ivy League education which she has not received.

                                               COUNT ONE

     Americans with Disabilities Act of 1990 and § 504 of the Rehabilitation        Act, 29 U.S.C. §
                                               794

35. Plaintiffs incorporate paragraphs 1-34 as if fully set forth herein.

36. The American with Disabilities Act of 1990 § 504 ofthe Rehabilitation Act, 29 U.S.C. § 794,

    mandates that no otherwise qualified individual with a disability shall, by reason of such

    disability, be excluded from participation in or be denied the benefits of the services, programs,

    or activities of a postsecondary educational institution, or be subjected to discrimination by any

    such institution.

37. Due to the repeated complaints and attempts to receive reasonable accommodations cited

    above, Defendant was fully aware of Plaintiffs physical disability.

38. Despite these repeated complaints and requests for reasonable accommodations, Defendant

    failed and/or refused to implement reasonable accommodations identified by Plaintiff, failed

    and refused to implement moderate accommodations which were agreed upon by all parties and

     failed and refused to implement alternative accommodations after repeatedly failing to provide

     accommodations identified by Plaintiff.

 39. As a proximate cause and reasonably foreseeable result of Defendant's violation of its duty of

     reasonable accommodations under the American with Disabilities Act of 1990 and §504 of the

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   Rehabilitation Act, 29 U.S.C. § 794, Plaintiff has suffered and continues to suffer harm for

   which she is entitled to an award of damages.

40. Defendant's unlawful conduct constitutes a knowing, malicious, willful and wanton violation

    of the American with Disabilities Act §504 of the Rehabilitation Act, 29 U.S.C. § 794, for

    which Plaintiff is entitled to an award of punitive damages.

                                             COUNT TWO

                            Consumer Fraud Act, N.J.S.A § 56:8-1 et seq.

41. Plaintiffs incorporate paragraph 35-40 as if fully set forth herein.

42. The Defendant is a "person" as defined byNJ.S.A. § 56:8-1(d).

43. The pre-veterinary science education is "merchandise" within the definition ofN.J.S.A. § 56:8-

    l(c).

44. The New Jersey Consumer Fraud Act prohibits "[t]he act, use or employment by any person of

    any unconscionable commercial practice, deception, fraud, false pretense, false promise,

    misrepresentation, or the knowing, concealment, suppression, or omission of any material fact

    with intent that others rely upon such concealment, suppression or omission, in connection with

    the sale or advertisement of any merchandise" including any sale or distribution of any

     services. N.J.S.A. 56:8-2; N.J.S.A. 56:8-1(c), (e).

 45. Defendant represented to Plaintiffs on numerous occasions, prior to Plaintiff S.M. accepting

     admission into Dartmouth and prior to Dartmouth accepting the tuition payment from

     Plaintiffs, that Plaintiff S.M. would be provided with reasonable accommodations to ensure

     that she received an equal education as her peers.

 46. This representation was false as set forth above.

 47. This representation was material as it related directly to the reason why S.M. enrolled and


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   remained a student at Dartmouth.

48. Defendant either knew of the misrepresentation, made the misrepresentations without

   knowledge as to its truth or falsity or made the misrepresentation under circumstances in which

    it should have known of its falsity.

49. Defendant intended to have Plaintiff act upon those representations.

50. Plaintiffs justifiably relied upon Defendant's representations to their detriment.

51. As a proximate cause and reasonably foreseeable result of Defendant's conduct, Plaintiff has

    suffered and continues to suffer harm for which she is entitled to an award of damages.

                                                COUNT 3

                                       BREACH OF CONTRACT

52. Plaintiffs incorporate paragraph 41-51 as if fully set forth herein.

 53. Plaintiffs entered into an agreement with Defendant whereby, in exchange for tuition payments,

     Defendant would provide equal education opportunities for Plaintiff to earn a degree from

     Dartmouth.

 54. On numerous occasions Defendant made promises to provide Plaintiff with reasonable

     accommodations to ensure that she had equal opportunity to participate in courses, programs

     and activities.

 55. Plaintiffs performed all the conditions required of them by said agreement.

 56. Defendant breached said agreement by consistently failing to provide Plaintiff with reasonable

     accommodations.

 57. As a proximate cause and reasonably foreseeable result of Defendant's conduct, Plaintiff has

      suffered and continues to suffer harm for which she is entitled to an award of damages.




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                                              COUNT 4

                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

58. Plaintiffs incorporate paragraph 52-57 as if fully set forth herein.

59. The conduct set forth in Counts One, Two and Three of the Complaint was extreme and/or

    outrageous and/or intentionally intended to produce emotional distress and/or recklessly in

    deliberate disregard of a high degree of probability that emotional distress would follow.

60. Plaintiffs did in fact suffer emotional distress.

61. As a proximate cause and/or reasonably foreseeable result of the foregoing, Plaintiffs was

    caused to sustain and will continue to sustain severe pain and suffering and permanent injuries

     including, but not limited to, severe emotional distress, alarm, humiliation, psychological harm,

     embarrassment, stress and anxiety and Plaintiffs was further caused to expend, and will

     continue to expend, great sums of money for professional care, and/or treatment for her

     mjunes,



                                        PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs pray that the Court enter judgment in their favor and against Defendant,

 containing the following relief:

     A. A declaratory judgment that the actions, conduct and practices of Defendant complained of

         herein violate the laws of the United States and the State of New Jersey;

     B. An injunction and order permanently and restraining Defendant from engaging in such

         unlawful conduct;

     C. An order requiring Defendant to modify its policies, practices and procedures so as to bring

         its practices into compliance with the Americans with Disabilities Act;


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  D. Order Defendant to train its agents and staff on the requirements of the American with

      Disabilities Act;

  E. An order directing Defendant to place Plaintiff in the position she would have occupied but

      for Defendant's discriminatory treatment and otherwise unlawful conduct, as well as to take

      such affirmative action as is necessary to ensure that the effects of these unlawful practices

       are eliminated and do not continue to affect her education;

   F. An award for Plaintiffs out of pocket expenses for tutors and note takers, tuition refund,

       compensation for the mental anguish, humiliation, embarrassment, stress and anxiety,

       emotional pain and suffering, emotional distress and physical injuries.

   G. An award of damages for any and all other monetary and/or non-monetary losses suffered

       by Plaintiffs in an amount to be determined at trial, including but not limited to attorney

       fees, costs of suit plus prejudgment interests;

   H. An award of punitive damages;

   1. Such other and further relief as the Court may deem just and proper.

                                               JURY DEMAND

Plaintiffs request a jury trial in this matter as to any and all causes of action triable by and/or before




Date: October 27,2016




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